Case 2:22-cv-00797-NR-MPK Document 33 Filed 06/28/23 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF PENNSYLVANIA

KENNETH FERENCE, ELECTRONICALLY FILED
Plaintiff, No, 2:22-cv-797
V. JURY TRIAL DEMANDED
ROMAN CATHOLIC DIOCESE OF
GREENSBURG,
Defendant.

Magistrate Judge Maureen P. Kelly
Clawback Order Implementing Federal Rule of Evidence 502(d)

1. No Waiver by Disclosure. This Order is entered pursuant to Rule 502(d) of the Federal
Rules of Evidence. Subject to the provisions of this Order, if a party (the “Producing Party”)
discloses information in connection with the pending litigation, that the Producing Party
thereafter claims to be protected by the attorney-client privilege and/or trial preparation material
protection (“Protected Information”), the disclosure of that Protected Information will not
constitute or be deemed a waiver or forfeiture in this or any other federal, state, arbitration, or
any other proceeding of any claim of privilege or protection as trial preparation material that the
Producing Party would otherwise be entitled to assert with respect to the Protected Information
and its subject matter.

2. Notification Requirements; Best Efforts of Receiving Party. A Producing Party must
promptly notify the party receiving the Protected Information (the “Receiving Party”), in writing
that it has disclosed the Protected Information without intending a waiver by the disclosure. The
notification by the Producing Party shall include as specific an explanation as possible why the
Protected Information is covered by the attorney-client privilege and/or constitutes trial
preparation material. Upon such notification, the Receiving Party must, unless it contests the
claim of attorney-client privilege or protection as trial preparation material in accordance with
paragraph (3), promptly (a) notify the Producing Party that it will make best efforts to identify
_and return, sequester or destroy (or in the case of electronically stored information, delete) the
Protected Information and any reasonably accessible copies it has and (b) provide a
certification that it will cease further review, dissemination and use of the Protected Information.
For purposes of this Order, Protected Information that has been stored on a source of
electronically stored information that is not reasonably accessible, such as backup storage
media, is sequestered. If such data is retrieved, the Receiving Party must promptly take steps
to delete or sequester the restored Protected Information.

3. Contesting Claims of Privilege or Protection as Trial Preparation Material. If the
Receiving Party contests the claim of attorney-client privilege or protection as trial preparation
material, the Receiving Party must within 30 days of receipt of the notification referenced in
Paragraph (2) move the Court for an Order finding that the material referenced in the notification
does not constitute Protected Information. This Motion must be filed (with Court approval) under
seal and cannot assert the fact or circumstance of the disclosure as a ground for determining

7
Case 2:22-cv-00797-NR-MPK Document 33 Filed 06/28/23 Page 2 of 3

that the material does not constitute Protected Information. Pending resolution of the Motion,
the Receiving Party must not use the challenged information in any way or disclose it to any
person other than as required by law to be served with a copy of the sealed Motion.

4. Stipulated Time Periods. The parties may stipulate to extend the time periods set forth in
subparagraphs (2) and (3).

5. Burden of Proving Privilege or Protection as Trial Preparation Material. The Disclosing
Party retains the burden upon challenge pursuant to Paragraph (3) of establishing the privileged
or protected nature of the Protected Information.

6. In Camera Review. Nothing in this Order limits the right of any party to petition the Court for
an in camera review of the Protected Information.

7. Voluntary and Subject Matter Waiver. This Order does not preclude a party from voluntarily
waiving the attorney-client privilege or trial preparation material protection. The provisions of
Federal Rule of Evidence 502(a) apply when the Disclosing Party uses or indicates that it may
use information produced under this Order to support a claim or defense.

8. Rule 502(b)(2). The failure to take reasonable steps to prevent the disclosure shall not give
rise to a waiver of the privilege.

9. Other Clawback and Confidentiality Obligations. This Order does not affect or rescind
any Clawback Agreement or Order governing protection of confidential information to which the
parties have otherwise agreed.

10. Severability. The invalidity or unenforceability of any provisions of this Order shall not
affect the validity or enforceability of any other provision of this Order, which shall remain in full
force and effect.

a

fo ee? lane af AIL fe Ae. weer

The Honorable Maureen P. Kelly
Magistrate Judge, United Statés District Court for the Western District of Pennsylvania

   

 

as € 5 ¥
footed?

Audi :¢ (fast £9, bbED
Case 2:22-cv-00797-NR-MPK Document 33 Filed 06/28/23 Page 3 of 3

MEYER, DARRAGH, BUCKLER,
BEBENEK & ECK, P.L.L.C.

/s/ Bernard P. Matthews, Jr., Esa.

 

BERNARD P. MATTHEWS, JR., ESQ.

PA. I.D. #54880
bmatthews@mdbbe.com
ALEXANDER W. BROWN, ESQ.

PA. |.D. #322661
abrown@mdbbe.com

40 North Pennsylvania Ave., Suite 410
Greensburg, PA 15601

Telephone No.: (724) 836-4840

Fax No.: (724) 836-0532

(Attorneys for Defendant)

QUATRINI LAW GROUP

/s/Nicholas W. Kennedy, Esa.
NICHOLAS W. KENNEDY. ESQ.
PA ID No. 317386

550 East Pittsburgh Street
Greensburg, PA 15601

Phone: 724-837-0080

Fax: 724-837-1348

(Attorneys for Plaintiff)

 

Respectfully Submitted:

BALL, MURREN & CONNELL, LLC

/s/ Philip J. Murren, Esq.
PHILIP J. MURREN, ESQ.

PA. I.D. #21426
bmc-law2@msn.com
KATHERINE M. FITZ-PATRICK,
ESQ.

PA. I.D. #208863
fitz-patrick@bmc-law.net
DAVID R. DYE, ESQ.

PA I.D. #88665
dye@bmc-law.net

2303 Market Street

Camp Hill, PA 17011
Telephone No.: (717) 232-8731
Fax No.: (717) 232-2142
(Attorneys for Defendant)

 
